






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00470-CV






Enrique Flores, Appellant


v.


Security State Bank &amp; Trust and Billy Joe Morris, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. D-1-GN-10-001396, HONORABLE GISELA D. TRIANA-DOYAL, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant has filed an unopposed motion to dismiss his appeal.  Appellant states that
he no longer wishes to pursue his appeal.  Appellant certifies that he has conferred with appellee
Security State Bank &amp; Trust and that it does not oppose this motion.  Appellant further states that
appellee Billy Joe Morris did not appear in the trial court and has not responded to correspondence
from appellant's counsel.  We grant the motion and dismiss the appeal.  See Tex. R. App.
P.&nbsp;42.1(a)(1).


						__________________________________________

						Melissa Goodwin, Justice

Before Justices Puryear, Henson, and Goodwin

Dismissed on Appellant's Motion

Filed:   January 13, 2012


